                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
AAS                                                  Select Street Address
F. #2021R00600                                       Select City & State



                                                     September 3, 2024

By ECF and E-mail

The Honorable Peggy Kuo
United States Magistrate Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

               Re:     United States v. Linda Sun, et al.
                       Criminal Docket No. 24-346 (BMC)

Dear Judge Kuo:

                 The government respectfully moves for an order unsealing the attached redacted
version of the above-referenced indictment, which removes addresses and identifying
information associated with real estate properties and third-party bank accounts that are subject
of forfeiture allegations, as well as unsealing the indictment in its entirety for defense counsel
and unsealing the case as to both defendants. The government further moves that the redacted
version of the indictment be the only version of the indictment available on the public docket.

                                                     Respectfully submitted,

                                                     BREON PEACE
                                                     United States Attorney

                                              By:              /s/
                                                     Alexander A. Solomon
                                                     Robert Pollack
                                                     Assistant U.S. Attorneys
                                                     (718) 254-7000
Enclosure

cc:    Clerk of Court (by ECF)
       Kenneth Abell, Esq. (by ECF)
       Nicole Boeckmann, Esq. (by ECF)
